18-13359-shl   Doc 1231   Filed 07/01/19 Entered 07/01/19 15:44:57   Main Document
                                        Pg 1 of 17
18-13359-shl   Doc 1231   Filed 07/01/19 Entered 07/01/19 15:44:57   Main Document
                                        Pg 2 of 17
18-13359-shl   Doc 1231   Filed 07/01/19 Entered 07/01/19 15:44:57   Main Document
                                        Pg 3 of 17
                                     18-13359-shl    Doc 1231           Filed 07/01/19 Entered 07/01/19 15:44:57                  Main Document
                                                                               MiamiPg Metals I, Inc., et al.
                                                                                         4 of 17
                                                                                     Electronic Mail
                                                                                      Exhibit Pages
Page # : 1 of 8                                                                                                                                       06/28/2019 08:33:54 PM
000079P001-1398S-210                            000080P001-1398S-210                      000066P002-1398S-210                            000119P002-1398S-210
ALSTON & BIRD LLP                               ALSTON & BIRD LLP                         APMEX                                           ARCHER & GREINER PC
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000119P002-1398S-210                            000119P002-1398S-210                      000127P001-1398S-210                            002171P003-1398A-210
ARCHER & GREINER PC                             ARCHER & GREINER PC                       ARNOLD & PORTER KAYE SCHOLER LLP                ARNOLD AND PORTER KAYE SCHOLER LLP
G DICONZA;J TRAURIG; L SCHILDKRAUT              G DICONZA;J TRAURIG; L SCHILDKRAUT        D TYLER NURNBERG                                BENJAMIN MINTZ; CHARLES MALLOY
630 THIRD AVE                                   630 THIRD AVE                             70 W MADISON ST STE 4200                        250 WEST 55TH ST
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002171P003-1398A-210                            000092P002-1398S-210                      000067P001-1398S-210                            000099P001-1398S-210
ARNOLD AND PORTER KAYE SCHOLER LLP              BAST AMRON LLP                            BAYSIDE METAL EXCHANGE                          BECKER GLYNN MUFFLY CHASSIN & HOSINSKI LLP
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000083P003-1398S-210                            000083P003-1398S-210                      002210P003-1398A-210                            000493P003-1398A-210
BENNET JONES LLP                                BENNET JONES LLP                          ROBERT S BERNSTEIN                              BGASC LLC
PREET K BELL;ABBAS ALI KHAN                     PREET K BELL;ABBAS ALI KHAN               HOLLAND AND KNIGHT LLP                          LAW OFFICES OF BRIAN MCGILVRAY
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000493P003-1398A-210                            000058P001-1398S-210                      000058P001-1398S-210                            000058P001-1398S-210
BGASC LLC                                       BORGES & ASSOCIATES LLC                   BORGES & ASSOCIATES LLC                         BORGES & ASSOCIATES LLC
LAW OFFICES OF BRIAN MCGILVRAY                  WANDA BORGES; SUE L CHIN                  WANDA BORGES; SUE L CHIN                        WANDA BORGES; SUE L CHIN
BRIAN MCGILVRAY                                 575 UNDERHILL BLVD STE 118                575 UNDERHILL BLVD STE 118                      575 UNDERHILL BLVD STE 118
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000132P001-1398S-210                            000125P001-1398S-210                      000028P001-1398S-210                            000039P001-1398S-210
Bruce Dopke                                     CARTER LEDYARD & MILBURN LLP              COEUR MEXICANA SA DE CV                         COEUR ROCHESTER
Stahl Cowen Crowley Addis, LLC                  AARON R CAHN                              AVE. VALLE ESCONDIDO # 5500-401 /               PO BOX 1057 I80
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                                                                                    MiamiPg Metals I, Inc., et al.
                                                                                              5 of 17
                                                                                          Electronic Mail
                                                                                           Exhibit Pages
Page # : 2 of 8                                                                                                                                                            06/28/2019 08:33:54 PM
000134P002-1398S-210                                 000056P001-1398S-210                                 000045P001-1398S-210                                 000106P001-1398S-210
COLLERAN O'HARA & MILLS LLP                          COMPANIA MINERA DOLORES, S.A. DE C.V.                COMPANIA MINERA PITALLA S.A. DE C.V.                 CONWAY & CONWAY
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                                                     HOMERO.ADAMECRUZ@PANAMERICANSILVER.MX                DAVE.PONCZOCH@ARGONAUTGOLD.COM


000086P003-1398S-210                                 000086P003-1398S-210                                 000086P003-1398S-210                                 000086P003-1398S-210
COOLEY LLP                                           COOLEY LLP                                           COOLEY LLP                                           COOLEY LLP
SETH VAN AALTEN;ROBERT WINNING; SARAH CARNES         SETH VAN AALTEN;ROBERT WINNING; SARAH CARNES         SETH VAN AALTEN;ROBERT WINNING; SARAH CARNES         SETH VAN AALTEN;ROBERT WINNING; SARAH CARNES
SUMMER M MCKEE                                       SUMMER M MCKEE                                       SUMMER M MCKEE                                       SUMMER M MCKEE
55 HUDSON YARDS                                      55 HUDSON YARDS                                      55 HUDSON YARDS                                      55 HUDSON YARDS
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002167P001-1398A-210                                 000120P001-1398S-210                                 000090P001-1398S-210                                 000096P001-1398S-210
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WILLIAM H HOCH III                                   MATTHEW G ROSEMAN,ESQ                                HARPREET DHALIWAL/LEA GOLD                           RICHARD F HANS;RACHEL EHRLICH ALBANESE
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000096P001-1398S-210                                 000048P001-1398S-210                                 000048P001-1398S-210                                 000082P002-1398S-210
DLA PIPER LLP (US)                                   DON DAVID GOLD MEXICO S.A. DE C.V.                   DON DAVID GOLD MEXICO S.A. DE C.V.                   DORSEY & WHITNEY LLP
RICHARD F HANS;RACHEL EHRLICH ALBANESE               CALLE DE LAS ROSAS NO. 339                           CALLE DE LAS ROSAS NO. 339                           E L SCHNABEL;D P GOLDBERGER;J D MIKHAILEVICH;J M W
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000082P002-1398S-210                                 000082P002-1398S-210                                 000082P002-1398S-210                                 000112P001-1398S-210
DORSEY & WHITNEY LLP                                 DORSEY & WHITNEY LLP                                 DORSEY & WHITNEY LLP                                 DYKEMA GOSSETT PLLC
E L SCHNABEL;D P GOLDBERGER;J D MIKHAILEVICH;J M W   E L SCHNABEL;D P GOLDBERGER;J D MIKHAILEVICH;J M W   E L SCHNABEL;D P GOLDBERGER;J D MIKHAILEVICH;J M W   MARK ANDREWS; JEFFREY FINE; AARON KAUFMAN
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000112P001-1398S-210                                 000112P001-1398S-210                                 000107P001-1398S-210                                 000030P001-1398S-210
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MARK ANDREWS; JEFFREY FINE; AARON KAUFMAN            MARK ANDREWS; JEFFREY FINE; AARON KAUFMAN            MATIN EMOUNA                                         MITCHELL T LEVINE
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                                                                                  MiamiPg Metals I, Inc., et al.
                                                                                            6 of 17
                                                                                        Electronic Mail
                                                                                         Exhibit Pages
Page # : 3 of 8                                                                                                                                                     06/28/2019 08:33:54 PM
000030P001-1398S-210                               000031P001-1398S-210                             000040P001-1398S-210                             000130P002-1398S-210
ERIE MANAGEMENT PARTNERS                           ESTELAR RESOURCES LIMITED S.A.                   EZ PAWN                                          Edward Nektalov
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000084P001-1398S-210                               000084P001-1398S-210                             000084P001-1398S-210                             000087P001-1398S-210
FRIEDMAN KAPLAN SEILER & ADELMAN LLP               FRIEDMAN KAPLAN SEILER & ADELMAN LLP             FRIEDMAN KAPLAN SEILER & ADELMAN LLP             FUNDACION RAFAEL DONDE IAP
ERIC SEILER;JASON C RUBINSTEIN;JAMUNA D KELLEY     ERIC SEILER;JASON C RUBINSTEIN;JAMUNA D KELLEY   ERIC SEILER;JASON C RUBINSTEIN;JAMUNA D KELLEY   EVANGELINA BERNAL
7 TIMES SQUARE                                     7 TIMES SQUARE                                   7 TIMES SQUARE                                   MONTE DE PIEDAD 3.CENTRO ZONA 1
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000088P001-1398S-210                               000072P001-1398S-210                             000037P001-1398S-210                             000049P001-1398S-210
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000049P001-1398S-210                               000114P001-1398S-210                             000059P001-1398S-210                             000059P001-1398S-210
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000108P001-1398S-210                               000109P001-1398S-210                             000064P001-1398S-210                             000075P001-1398S-210
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002211P002-1398A-210                               000095P001-1398S-210                             000105P001-1398S-210                             000023P001-1398S-210
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                                                                                     MiamiPg Metals I, Inc., et al.
                                                                                               7 of 17
                                                                                           Electronic Mail
                                                                                            Exhibit Pages
Page # : 4 of 8                                                                                                                                            06/28/2019 08:33:54 PM
000024P001-1398S-210                             000060P001-1398S-210                           000046P002-1398S-210                         000061P001-1398S-210
HAYNES & BOONE                                   HINCKLEY ALLEN &SNYDER LLP                     HORIZON METALS                               ICBC STANDARD BANK
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000061P001-1398S-210                             000061P001-1398S-210                           000061P001-1398S-210                         000061P001-1398S-210
ICBC STANDARD BANK                               ICBC STANDARD BANK                             ICBC STANDARD BANK                           ICBC STANDARD BANK
LUDMILA FABIANOVA                                LUDMILA FABIANOVA                              LUDMILA FABIANOVA                            LUDMILA FABIANOVA
520 MADISON AVE                                  520 MADISON AVE                                520 MADISON AVE                              520 MADISON AVE
28TH FL                                          28TH FL                                        28TH FL                                      28TH FL
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ICBC STANDARD BANK LONDON                        ICBC STANDARD BANK LONDON                      ICBC STANDARD BANK LONDON                    ICBC STANDARD BANK LONDON
20 GRESHAM ST                                    20 GRESHAM ST                                  20 GRESHAM ST                                20 GRESHAM ST
LONDON EC2V 7JE                                  LONDON EC2V 7JE                                LONDON EC2V 7JE                              LONDON EC2V 7JE
UNITED KINGDOM                                   UNITED KINGDOM                                 UNITED KINGDOM                               UNITED KINGDOM
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000063P001-1398S-210                             000062P001-1398S-210                           000062P001-1398S-210                         000062P001-1398S-210
ICBC STANDARD BANK LONDON                        ICBC STANDARD BANK PLC                         ICBC STANDARD BANK PLC                       ICBC STANDARD BANK PLC
20 GRESHAM ST                                    20 GRESHAM ST                                  20 GRESHAM ST                                20 GRESHAM ST
LONDON EC2V 7JE                                  LONDON EC2V 7JE                                LONDON EC2V 7JE                              LONDON EC2V 7JE
UNITED KINGDOM                                   UNITED KINGDOM                                 UNITED KINGDOM                               UNITED KINGDOM
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000062P001-1398S-210                             000062P001-1398S-210                           000641P002-1398A-210                         000055P001-1398S-210
ICBC STANDARD BANK PLC                           ICBC STANDARD BANK PLC                         JEWELLERY QUARTER BULLION LTD                KARKOUR FINE JEWELRY, INC
20 GRESHAM ST                                    20 GRESHAM ST                                  ROBERT HALLIDAY-STEIN                        SIMON SIMONIAN
LONDON EC2V 7JE                                  LONDON EC2V 7JE                                CENTRE CITY TOWER FLOOR 16                   628 SOUTH HILL STREET
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000111P001-1398S-210                             002221P002-1398A-210                           000122P001-1398S-210                         000052P001-1398S-210
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                                                                              MiamiPg Metals I, Inc., et al.
                                                                                        8 of 17
                                                                                    Electronic Mail
                                                                                     Exhibit Pages
Page # : 5 of 8                                                                                                                                     06/28/2019 08:33:54 PM
000121P001-1398S-210                           000074P001-1398S-210                      002212P002-1398A-210                           002212S001-1398A-210
LAW OFFICES OF FRANCIS J O'REILLY              LECLAIRRYAN PLLC                          WILLIAM J LEVANT                               WILLIAM J LEVANT
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002184P002-1398A-210                           000026P001-1398S-210                      000025P002-1398S-210                           000027P002-1398S-210
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000077P001-1398S-210                           000077P001-1398S-210                      000076P001-1398S-210                           000076P001-1398S-210
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JULIE B TEICHER;DAVID M EISENBERG              JULIE B TEICHER;DAVID M EISENBERG         GARY D BRESSLER;NICOLE LEONARD                 GARY D BRESSLER;NICOLE LEONARD
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002183P002-1398A-210                           000110P001-1398S-210                      000043P001-1398S-210                           000038P001-1398S-210
LUKE MCGRATH                                   MCLAUGHLIN & STERN PLLC                   MID-STATES RECYCLING                           MIDWEST REFINERIES
DUNNINGTON BARTHOLOW AND MILLER LLP            STEVEN S NEWBURGH                         GARY DOLINKO                                   GARY FRENKEL
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000089P001-1398S-210                           000035P001-1398S-210                      000034P001-1398S-210                           000034P001-1398S-210
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CELINA YANES                                   DAVID A PONCZOCH                          SERGIO RENARD                                  SERGIO RENARD
CALLE DE LOS PIMAS 81                          PLAZA SAN PEDRO NO. 113                   AVENIDA SANTA FE 2755 PISO 9                   AVENIDA SANTA FE 2755 PISO 9
COLONIA PARQUE INDUSTRIAL                      DURANGO 34080                             BUENOS AIRES C14Z5BGC                          BUENOS AIRES C14Z5BGC
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000041P001-1398S-210                           000036P001-1398S-210                      002222P002-1398A-210                           000128P001-1398S-210
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FRANCISCO JAVIER HERNANDEZ                     MARIANO PETRALLI                          MORRIS JAMES LLP                               THOMAS D BERGHMAN
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                                      18-13359-shl    Doc 1231           Filed 07/01/19 Entered 07/01/19 15:44:57                             Main Document
                                                                                MiamiPg Metals I, Inc., et al.
                                                                                          9 of 17
                                                                                      Electronic Mail
                                                                                       Exhibit Pages
Page # : 6 of 8                                                                                                                                                      06/28/2019 08:33:54 PM
000129P002-1398S-210                             000093P001-1398S-210                                000093P001-1398S-210                                000093P001-1398S-210
Mikhail Usher                                    NEAL GERBER & EISENBERG LLP                         NEAL GERBER & EISENBERG LLP                         NEAL GERBER & EISENBERG LLP
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002173P003-1398A-210                             000115P001-1398S-210                                000044P005-1398S-210                                000044P005-1398S-210
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002227P002-1398A-210                             000104P001-1398S-210                                000032P001-1398S-210                                000054P001-1398S-210
JANE PEARSON                                     POLSINELLI PC                                       PREMIER GOLD MINES LIMITED                          PRETIUM EXPLORATION INC
POLSINELLI PC                                    TREY A MONSOUR                                      STEVE FILIPOVIC                                     TOM YIP (COMPLIANCE OFFICER)
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000033P003-1398S-210                             000033P003-1398S-210                                000069P001-1398S-210                                000629P001-1398A-210
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000629S001-1398A-210                             000629S002-1398A-210                                000050P001-1398S-210                                000097P001-1398S-210
PRINCE AND IZANT                                 PRINCE AND IZANT                                    QML, INC                                            RATTET PLLC
HAHN LOESER AND PARKS LLP                        MORRISON COHEN LLP                                  BRIAN BUDOVSKY                                      JAMES B GLUCKSMAN, ESQ
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000098P002-1398S-210                             000071P001-1398S-210                                000094P001-1398S-210                                000094P001-1398S-210
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                                                                                   MiamiPg Metals
                                                                                            10 of I,
                                                                                                  17Inc., et al.
                                                                                         Electronic Mail
                                                                                          Exhibit Pages
Page # : 7 of 8                                                                                                                                            06/28/2019 08:33:54 PM
000116P001-1398S-210                              002292P001-1398A-210                        002209P003-1398A-210                            000053P002-1398S-210
ROBINSON & COLE LLP                               ROBINSON AND COLE LLP                       ARTHUR E ROSENBERG                              S & S METAL GROUP
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000081P001-1398S-210                              000091P001-1398S-210                        000135P001-1398S-210                            000136P001-1398S-210
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000117P001-1398S-210                              000073P001-1398S-210                        000068P001-1398S-210                            000042P002-1398S-210
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000126P001-1398S-210                              000126P001-1398S-210                        000070P001-1398S-210                            000118P001-1398S-210
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000029P001-1398S-210                              000131P003-1398S-210                        000124P001-1398S-210                            000124P001-1398S-210
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000078P001-1398S-210                              000078P001-1398S-210                        000133P001-1398S-210                            002174P003-1398A-210
TORYS LLP                                         TORYS LLP                                   TORYS LLP                                       MARIANNA UDEM
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                                                                       11 of I,
                                                                             17Inc., et al.
                                                                    Electronic Mail
                                                                     Exhibit Pages
Page # : 8 of 8                                                                                                   06/28/2019 08:33:54 PM
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18-13359-shl   Doc 1231   Filed 07/01/19 Entered 07/01/19 15:44:57   Main Document
                                       Pg 12 of 17
                                     18-13359-shl         Doc 1231             Filed 07/01/19 Entered 07/01/19 15:44:57                          Main Document
                                                                                            Pg 13 of 17
                                                                                      Miami Metals I, Inc., et al.
                                                                                            Exhibit Pages

Page # : 1 of 5                                                                                                                                                      06/28/2019 08:31:56 PM
000079P001-1398S-210                                 000080P001-1398S-210                               000066P002-1398S-210                             000119P002-1398S-210
ALSTON & BIRD LLP                                    ALSTON & BIRD LLP                                  APMEX                                            ARCHER & GREINER PC
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000127P001-1398S-210                                 000092P002-1398S-210                               000067P001-1398S-210                             000099P001-1398S-210
ARNOLD & PORTER KAYE SCHOLER LLP                     BAST AMRON LLP                                     BAYSIDE METAL EXCHANGE                           BECKER GLYNN MUFFLY CHASSIN & HOSINSKI LLP
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                                                     MIAMI FL 33131


000083P003-1398S-210                                 000058P001-1398S-210                               000132P001-1398S-210                             000020P001-1398S-210
BENNET JONES LLP                                     BORGES & ASSOCIATES LLC                            Bruce Dopke                                      CALIFORNIA FRANCHISE TAX BOARD
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000125P001-1398S-210                                 000028P001-1398S-210                               000039P001-1398S-210                             000134P002-1398S-210
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                                                     MEXICO



000056P001-1398S-210                                 000045P001-1398S-210                               000106P001-1398S-210                             000086P003-1398S-210
COMPANIA MINERA DOLORES, S.A. DE C.V.                COMPANIA MINERA PITALLA S.A. DE C.V.               CONWAY & CONWAY                                  COOLEY LLP
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MEXICO                                               MEXICO                                                                                              NEW YORK NY 10001



000120P001-1398S-210                                 000090P001-1398S-210                               000096P001-1398S-210                             000048P001-1398S-210
CULLEN AND DYKMAN LLP                                DESARROLLOS MINEROS SAN LUIS S.A. DE C.V.          DLA PIPER LLP (US)                               DON DAVID GOLD MEXICO S.A. DE C.V.
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                                                     MEXICO CITY CP 11000                                                                                MEXICO
                                                     MEXICO


000082P002-1398S-210                                 000112P001-1398S-210                               000107P001-1398S-210                             000030P001-1398S-210
DORSEY & WHITNEY LLP                                 DYKEMA GOSSETT PLLC                                EMOUNA & MIKHAIL PC                              ERIE MANAGEMENT PARTNERS
E L SCHNABEL;D P GOLDBERGER;J D MIKHAILEVICH;J M W   MARK ANDREWS; JEFFREY FINE; AARON KAUFMAN          MATIN EMOUNA                                     MITCHELL T LEVINE
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NEW YORK NY 10019                                    DALLAS TX 75201                                    GARDEN CITY NY 11530                             WILLIAMSVILLE NY 14221
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                                                                                     Pg 14 of 17
                                                                               Miami Metals I, Inc., et al.
                                                                                     Exhibit Pages

Page # : 2 of 5                                                                                                                                                06/28/2019 08:31:56 PM
000031P001-1398S-210                             000057P001-1398S-210                        000040P001-1398S-210                               000130P002-1398S-210
ESTELAR RESOURCES LIMITED S.A.                   EXPORT GOLD S.A.                            EZ PAWN                                            Edward Nektalov
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000084P001-1398S-210                             000087P001-1398S-210                        000088P001-1398S-210                               000072P001-1398S-210
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                                                 MEXICO CDMX 06000                           MEXICO CDMX
                                                 MEXICO                                      MEXICO


000037P001-1398S-210                             000049P001-1398S-210                        000114P001-1398S-210                               000059P001-1398S-210
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000108P001-1398S-210                             000109P001-1398S-210                        000064P001-1398S-210                               000075P001-1398S-210
GIBSON DUNN & CRUTCHER LLP                       GIBSON DUNN & CRUTCHER LLP                  GREEN & SKLARZ LLC                                 GREEN & SKLARZ LLC
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000095P001-1398S-210                             000105P001-1398S-210                        000023P001-1398S-210                               000024P001-1398S-210
HAHN LOESER & PARKS LLP                          HALPERIN BATTAGLIA BENZIJA LLP              HAYNES & BOONE                                     HAYNES & BOONE
ROCCO I DEBITETTO, ESQ                           DONNA H LIEBERMAN, ESQ                      ELI COLUMBUS                                       FRASHER MURPHY
200 PUBLIC SQUARE STE 2800                       40 WALL ST, 37TH FLOOR                      2323 VICTORY AVENUE                                2323 VICTORY AVENUE
CLEVELAND OH 44114                               NEW YORK NY 10005                           SUITE 700                                          SUITE 700
                                                                                             DALLAS TX 75219                                    DALLAS TX 75219



000060P001-1398S-210                             000046P002-1398S-210                        000010P001-1398S-210                               000011P001-1398S-210
HINCKLEY ALLEN &SNYDER LLP                       HORIZON METALS                              INTERNAL REVENUE SERVICE                           INTERNAL REVENUE SERVICE
JENNIFER V DORAN,ESQ                             5739 W. HOWARD ST                           PO BOX 21126                                       CENTRALIZED INSOLVENCY OPERATIONS
28 STATE ST                                      NILES IL 60714                              PHILADELPHIA PA 19114                              PO BOX 7346
BOSTON MA 02109                                                                                                                                 PHILADELPHIA PA 19101-7346




000055P001-1398S-210                             000111P001-1398S-210                        000122P001-1398S-210                               000052P001-1398S-210
KARKOUR FINE JEWELRY, INC                        KLESTADT WINTERS JURELLER ET AL.            LAMONICA HERBST & MANISCALCO LLP                   LAURELTON SOURCING LLC
SIMON SIMONIAN                                   SEAN C. SOUTHARD                            DAVID A BLANSKY,ESQ                                MARY MESSIER
628 SOUTH HILL STREET                            200 WEST 41ST ST 17TH FL                    3305 JERUSALEM AVE STE 201                         15 SYLVAN WAY
LOS ANGELES CA 90014                             NEW YORK NY 10036                           WANTAGH NY 11793                                   PARSIPPANY NJ 07834
                                      18-13359-shl    Doc 1231            Filed 07/01/19 Entered 07/01/19 15:44:57                  Main Document
                                                                                       Pg 15 of 17
                                                                                 Miami Metals I, Inc., et al.
                                                                                       Exhibit Pages

Page # : 3 of 5                                                                                                                                             06/28/2019 08:31:56 PM
000121P001-1398S-210                             000074P001-1398S-210                       000026P001-1398S-210                                000025P002-1398S-210
LAW OFFICES OF FRANCIS J O'REILLY                LECLAIRRYAN PLLC                           LUSKIN STERN & EISLER                               LUSKIN STERN & EISLER LLP
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1961 ROUTE 6                                     885 THIRD AVENUE, SIXTEENTH FLOOR          ELEVEN TIMES SQUARE                                 ELEVEN TIMES SQUARE
CARMEL NY 10512                                  NEW YORK NY 10022                          8TH AVE & 41ST STREET                               8TH AVE & 41ST STREET
                                                                                            NEW YORK NY 10036                                   NEW YORK NY 10036



000027P002-1398S-210                             000077P001-1398S-210                       000076P001-1398S-210                                000110P001-1398S-210
LUSKIN STERN & EISLER LLP                        MADDIN HAUSER ROTH & HELLER PC             MCELROY DEUTSCH MULVANEY & CARPENTER LLP            MCLAUGHLIN & STERN PLLC
ALEX TALESNICK                                   JULIE B TEICHER;DAVID M EISENBERG          GARY D BRESSLER;NICOLE LEONARD                      STEVEN S NEWBURGH
ELEVEN TIMES SQUARE                              28400 NORTHWESTERN HIGHWAY SECOND FLOOR    235 LIBERTY ST 36TH FLOOR                           CITYPLACE OFFICE TOWER STE 1700
8TH AVE & 41ST STREET                            SOUTHFIELD MI 48034-1839                   NEW YORK NY 10281                                   525 OKEECHOBEE BLVD
NEW YORK NY 10036                                                                                                                               WEST PALM BEACH FL 33401



000019P001-1398S-210                             000043P001-1398S-210                       000038P001-1398S-210                                000089P001-1398S-210
MICHIGAN DEPARTMENT OF TREASURY                  MID-STATES RECYCLING                       MIDWEST REFINERIES                                  MINAS DE ORO NACIONAL SA DE CV
TAX POLICY DIVISION                              GARY DOLINKO                               GARY FRENKEL                                        CELINA YANES
ATTN: LITIGATION LIAISON                         1841 BUSSE HIGHWAY                         4471 FOREST AVE                                     CALLE DE LOS PIMAS 81
430 WEST ALLEGAN STREET                          DES PLAINES IL 60016                       WATERFORD MI 48328                                  COLONIA PARQUE INDUSTRIAL
2ND FLOOR, AUSTIN BUILDING                                                                                                                      HERMOSILLO SONORA 83299
LANSING MI 48922                                                                                                                                MEXICO


000035P001-1398S-210                             000034P001-1398S-210                       000041P001-1398S-210                                000036P001-1398S-210
MINERA REAL DEL ORO S.A. DE C.V.                 MINERA SANTA CRUZ S.A.                     MINERA SANTA RITA, S.R.L. DE C.V.                   MINERA TRITON ARGENTINA S.A.
DAVID A PONCZOCH                                 SERGIO RENARD                              FRANCISCO JAVIER HERNANDEZ                          MARIANO PETRALLI
PLAZA SAN PEDRO NO. 113                          AVENIDA SANTA FE 2755 PISO 9               CALLE DE LOS PIMAS NO 81                            CORDOBA 836 7TH
DURANGO 34080                                    BUENOS AIRES C14Z5BGC                      COLONIA-PARQUE INDUSTRIAL                           BUENOS AIRES C1054AAU
MEXICO                                           ARGENTINA                                  HERMOSILLO, SONORA 83299                            ARGENTINA
                                                                                            MEXICO


000128P001-1398S-210                             000129P002-1398S-210                       000093P001-1398S-210                                000115P001-1398S-210
MUNSCH HARDT KOPF & HARR PC                      Mikhail Usher                              NEAL GERBER & EISENBERG LLP                         NELSON MULLINS RILEY & SCARBOROUGH LLP
THOMAS D BERGHMAN                                Usher Law Group P.C.                       JONATHAN S QUINN;MARK A BERKOFF;KEVIN G SCHNEIDER   DANIEL F BLANKS
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DALLAS TX 75201-6659                             BROOKLYN NY 11214                          CHICAGO IL 60602-3801                               JACKSONVILLE FL 32202




000044P005-1398S-210                             000008P001-1398S-210                       000007P001-1398S-210                                000009P001-1398S-210
NUSANTARA DE MEXICO, S.A. DE C.V.                NYS DEPT. OF TAXATION & FINANCE            NYS DEPT. TAXATION & FINANCE                        NYS UNEMPLOYMENT INSURANCE FUND
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925 W. GEORGIA ST STE 1805                       BROOKLYN NY 11201-3827                     ALBANY NY 12205-0300
VANCOUVER BC V6C3L2
CANADA


000013P001-1398S-210                             000047P001-1398S-210                       000104P001-1398S-210                                000032P001-1398S-210
OFFICE OF THE UNITED STATES TRUSTEE              OXIDOS DE PASCO SAC                        POLSINELLI PC                                       PREMIER GOLD MINES LIMITED
U.S. FEDERAL OFFICE BUILDING                     JUAN IGNACIO DE LA TORRE                   TREY A MONSOUR                                      STEVE FILIPOVIC
201 VARICK STREET                                AV. MANUEL OLGUIN #375 URB                 1000 LOUISIANA ST STE 6400                          1100 RUSSELL STREET
SUITE 1006                                       LOS GRANADOS                               HOUSTON TX 77002                                    SUITE 200
NEW YORK NY 10014                                LIMA, SANTIGO DE SURCO 33                                                                      THUNDER BAY ON P7B 5N2
                                                 PERU                                                                                           CANADA
                                    18-13359-shl    Doc 1231            Filed 07/01/19 Entered 07/01/19 15:44:57                 Main Document
                                                                                     Pg 16 of 17
                                                                               Miami Metals I, Inc., et al.
                                                                                     Exhibit Pages

Page # : 4 of 5                                                                                                                                       06/28/2019 08:31:56 PM
000054P001-1398S-210                           000033P003-1398S-210                       000069P001-1398S-210                           000050P001-1398S-210
PRETIUM EXPLORATION INC                        PRIMERO EMPRESA MINERA S.A. DE C.V.        PRINCE AND IZANT                               QML, INC
TOM YIP (COMPLIANCE OFFICER)                   FIRST MAJESTIC SILVER; RAY POLMAN          BRAD LINDHOLM                                  BRIAN BUDOVSKY
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VANCOUVER BC V7X 1L4                           925 W. GEORGIA ST STE 1805                 CLEVELAND OH 44130                             EAST PROVIDENCE RI 09216
CANADA                                         VANCOUVER BC V6C3L2
                                               CANADA


000097P001-1398S-210                           000098P002-1398S-210                       000071P001-1398S-210                           000094P001-1398S-210
RATTET PLLC                                    RATTET PLLC                                RICH MICHAELSON MAGALIFF LLP                   RIKER DANZIG SCHERER HYLAND & PERRETTI LLP
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202 MAMARONECK AVE STE 300                     202 MAMARONECK AVE STE 300                 335 MADISON AVE 9TH FLOOR                      500 FIFTH AVE, 49TH FLOOR
WHITE PLAINS NY 10301                          WHITE PLAINS NY 10601                      NEW YORK NY 10017                              NEW YORK NY 10110




000116P001-1398S-210                           000053P002-1398S-210                       000014P001-1398S-210                           000081P001-1398S-210
ROBINSON & COLE LLP                            S & S METAL GROUP                          SECURITIES & EXCHANGE COMMISSION               SELENDY & GAY PLLC
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NEW YORK NY 10017                              LA ESPERILLA                               NEW YORK NY 10281
                                               DOMINICAN REPUBLIC


000091P001-1398S-210                           000135P001-1398S-210                       000136P001-1398S-210                           000117P001-1398S-210
SELENDY & GAY PLLC                             SELENDY & GAY PLLC                         SELENDY & GAY PLLC                             SHUMAKER LOOP & KENDRICK LLP
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NEW YORK NY 10022                              NEW YORK NY 10022                          NEW YORK NY 10104                              TAMPA FL 33602




000073P001-1398S-210                           000068P001-1398S-210                       000042P002-1398S-210                           000021P001-1398S-210
SHUTTS & BOWEN LLP                             SK BULLION PTE LTD                         SO ACCURATE GROUP, INC                         SOCIAL SECURITY ADMINISTRATION
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                                               SINGAPORE                                                                                 NEW YORK NY 10278



000126P001-1398S-210                           000070P001-1398S-210                       000118P001-1398S-210                           000029P001-1398S-210
SPOTTS FAIN PC                                 SQUIRE PATTON BOGGS (US)LLLP               STEINHILBER SWANSON LLP                        SUMITOMO
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000131P003-1398S-210                           000124P001-1398S-210                       000078P001-1398S-210                           000133P001-1398S-210
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PMB 120                                        66 SPLIT ROCK ROAD                         NEW YORK NY 10036                              NEW YORK NY 10036
San Francisco CA 94117                         SYOSSET NY 11791
                               18-13359-shl    Doc 1231           Filed 07/01/19 Entered 07/01/19 15:44:57            Main Document
                                                                               Pg 17 of 17
                                                                         Miami Metals I, Inc., et al.
                                                                               Exhibit Pages

Page # : 5 of 5                                                                                                                          06/28/2019 08:31:56 PM
000018P001-1398S-210                      000016P001-1398S-210                      000017P001-1398S-210                      000012P001-1398S-210
U.S. DEPARTMENT OF EDUCATION              U.S. DEPT. OF HEALTH & HUMAN SERVICES     U.S. ENVIRONMENTAL PROT. AGENCY           UNITED STATES ATTORNEY
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                                          ROOM 3908                                 MAIL CODE 2272A                           3RD FLOOR
                                          NEW YORK NY 10278                         WASHINGTON DC 20004-2004                  NEW YORK NY 10007



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LEAD SD 57754




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